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                          IN THE UNITED STATES DISTRICT COURT
                                 DISTRICT OF MARYLAND
                                  (BALTIMORE DIVISION)

YUDY RENALDO ALVAREZ,                                  )
                                                       )
                          Plaintiff,                   )
                                                       )
          v.                                           )    CASE NO.: 1:15-cv-02922-JFM
                                                       )
MAXIM HEALTHCARE SERVICES, INC.,                       )    Hon. Frederick Motz
                                                       )
                          Defendant.                   )


                         JOINT MOTION FOR APPROVAL OF SETTLEMENT
                         AGREEMENTS AND DISMISSAL WITH PREJUDICE

          Plaintiff Yudy Renaldo Alvarez along with the Plaintiffs in 151 related cases currently

pending before this Court (“Plaintiffs”)1 and Defendant Maxim Health Services, Inc. (“Maxim”

or “Defendant”) (collectively, the “Parties”), by and through the undersigned counsel, hereby

respectfully jointly request that the Court approve their negotiated Confidential Settlement

Agreements and Releases (“Agreements”) and dismiss the 152 individual actions with prejudice,

with all parties to bear their own costs. In support of this Joint Motion, the Parties state as

follows:

          1.       Plaintiffs’ Complaints assert claims for alleged unpaid overtime wages in

violation of the Fair Labor Standards Act, 29 U.S.C. §§201 et seq. Defendant has disputed

Plaintiffs’ claims and contends that Plaintiffs were fully compensated for all work performed.

          2.       The Parties agree and represent that they have reached a settlement that requires

Plaintiffs to dismiss, with prejudice, their claims in each individual action in exchange for a




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    The 152 cases/Plaintiffs covered by this Motion are listed in Exhibit A to this Motion.
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monetary payment and a release of Maxim from any further liability under the Fair Labor

Standards Act and all applicable state wage and hour laws for the time period in question.

       3.       The Parties’ Agreements resolve all of the claims that Plaintiffs brought or could

have brought in the lawsuits, including claims under the Fair Labor Standards Act.             The

Agreements also provide for Plaintiffs’ attorneys’ fees and costs. Because the Agreements

involve the settlement and release of claims under the Fair Labor Standards Act, the Parties must

submit the proposed Agreements to the Court to examine and ensure that the Agreements

represent a fair and reasonable resolution of a bona fide dispute. After review, the Court can then

enter an order dismissing the lawsuits with prejudice and permitting plaintiffs’ release of their

claims under the Fair Labor Standards Act and all applicable state wage and hour laws. See

Torres v. Washrite Plus. Inc., No. 15-2982, 2016 U.S. Dist. LEXIS 100046, at **4, 15 (D. Md.

Aug. 1, 2016) (citing Lynn’s Food Stores, 679 F.2d 1355, 1335 (11th Cir. 1982)).

       4.       Due to the confidentiality of the Agreements, the Parties have agreed not to make

them public record. Accordingly, the Parties also request permission to submit copies of the

signed Agreements directly to the Court for in camera review.

       5.       The Parties’ respective counsel are experienced in litigating wage and hour

lawsuits and engaged extensively in arm’s length, good-faith settlement negotiations that

considered the merits of Plaintiffs’ claims, Maxim’s defenses, and all the available and likely

evidence.

       6.       The claims of the vast majority of the 152 settling Plaintiffs were initiated as a

collective action in the 2012 lawsuit, Lawrence v. Maxim Healthcare Service, Inc., USDC ND

OH, Case No. 1:12-cv-02600-CAB. After the collective was decertified, Plaintiffs filed their

individual lawsuits in this Court. Thus, for most Plaintiffs, related litigation has been ongoing

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for four years. Moreover, based on Maxim’s defenses, Plaintiffs recognize that they might not

have recovered anything or risked recovering much less than the amount that was claimed.

Similarly, while Maxim believes that no liability exists, it acknowledges the risk that some or all

of its defenses may have not been established and that Plaintiffs could have received favorable

judgments, including liquidated damages. Accordingly, in light of the length of time of the

litigation, the factual and legal complexities of the cases, the inherent risks of trial, and the

expense of continued litigation, the Parties agree that the terms reflected in the Agreements are

mutually satisfactory and represent a fair and reasonable resolution of a bona fide dispute over,

inter alia, any alleged unpaid wages due to Plaintiffs. The settlements also promote the public’s

interest in encouraging settlement.

       7.       Additionally, given the complexity of the factual and legal issues and the several

months expended to reach a fair settlement, the award of attorneys’ fees allocated in the cases to

Plaintiffs’ counsel is reasonable.

       8.       As the Parties have negotiated a mutually agreeable settlement, they jointly move

the Court to: (1) approve the proposed Agreements; (2) dismiss the 152 settling actions with

prejudice; and (3) retain jurisdiction to enforce the terms of the Agreements.

       WHEREFORE, for all the foregoing reasons the Parties respectfully request permission

to submit a copy of the signed Agreements directly to the Court for in camera review, and that

this Court approve the Agreements and dismiss the 152 settling actions with prejudice, with all

parties to bear their own costs.




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Dated: March 13, 2017                         Respectfully submitted,

/s/ Robi J. Baishnab                          /s/ Lincoln O. Bisbee

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                                 CERTIFICATE OF SERVICE



       I hereby certify that on March 13, 2017, the above document was filed electronically

Notice of this filing will be sent by e-mail to all parties by operation of the Court’s electronic

filing system. Parties may access this filing through the Court’s CM/ECF System.




                                                       /s/ Lincoln O. Bisbee




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